Case 1:13-cv-01432-RA-KNF Document 131-22 Filed 12/29/15 Page 1of4

quinn emanuel trial lawyers

November 19, 2012 Matter # 61937
Page 488 Invoice # 1188387
Date Timekeeper Description. . Hours

40/11/12 WHI Performed first level review of documents from@ 530.
and @ 3 for responsiveness and initial identification of :

potentially privileged documents for further review and

eventual inclusion the privilege log ordered by the Court. The

overall purpose of this first-level review is to determine which

documents are responsive to the Defendants’ requests for

production and, given the responses and objections that@

has made, which documents should be withheld from

production for either privilege or non-responsiveness.

 

los angeles | new york | san francisco | silicon valley | chicago | de | london | mannheim | tokyo | hamburg

PRIVILEGED AND CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER QE00215115
Case 1:13-cv-01432-RA-KNF Document 131-22 Filed 12/29/15 Page 2 of 4

quinn emanuel trial lawyers

November 19, 2012 Le .. Matter # 61937
Page 542 i Invoice # 1188387
Date Timekeeper

Description inka ’ Yinekee cer Hours

 

          
  
 

10/12/12 WHI Performed first level review of documents from@g
and @2 for responsiveness and initial identification of
potentially privileged documents for further review and
eventual inclusion the privilege log ordered by the Court. The
overall purpose of this first-level review is to determine which
documents are responsive to the Defendants’ requests for
production and, given the responses and objections that@#@
has made, which documents should be withheld from
production for either privilege or non-responsiveness.

 

5.20

 

at

los angeles | new york | san francisco | silicon valley | chicago | de | london | mannheim | tokyo | hamburg

PRIVILEGED AND CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER QE00215169
Case 1:13-cv-01432-RA-KNF Document 131-22 Filed 12/29/15 Page 3 of 4

Crs

November 19, 2012 Matter # 61937
Page 620 Invoice # 1188387

Date Timekeeper o Description

10/15/12 WHi1 Performed first level review of documerits from
for responsiveness and initial identification of

potentially privileged documents for further review and
eventual inclusion the privilege log ordered by the Court. The
overall purpose of this first-level review is to determine which
documents are responsive to the Defendants’ requests for
production and, given the responses and objections that@
has made, which documents should be withheld from
production for either privilege or non-responsiveness.

los angeles | new york | san francisco | silicon valley | chicago | de | london | mannheim | tokyo | hamburg

PRIVILEGED AND CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER QE00215247

 
Case 1:13-cv-01432-RA-KNF Document 131-22 Filed 12/29/15 Page 4 of 4

quinn emanuel trial lawyers

November 19, 2012 Matter # 61937
Page.680 Invoice # 1188387
Date Timekeeper Description Hours

10/16/12 WHi Performed first level review of documents from@ 6.10.
and for responsiveness and initial identification of Dee
potentially privileged documents for further review and
eventual inclusion the privilege log ordered by the Court. The
overall purpose of this first-level review is to determine which
documents are responsive to the Defendants’ requests for
production and, given the responses and objections that@)

has made, which documents should be withheld from

production for either privilege or non-responsiveness.

 

los angeles | new york | san francisco | silicon valley | chicago | de | london | mannheim | tokyo | hamburg

PRIVILEGED AND CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER QE00215307
